       Case 1:22-cv-01361-JMC                      Document 19-1               Filed 07/21/23             Page 1 of 2



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July 21, 2023


VIA ECF

The Honorable Judge Jia M. Cobb
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse
333 Constitution Avenue, NW
Washington, DC 20021

Re:     Crescent Petroleum Co. Int’l Ltd. et al v. Nat’l Iranian Oil Co. (22-cv-01361)

Dear Judge Cobb:

       On behalf of Petitioners Crescent Petroleum Company and Crescent Gas Corporation
Limited (together, “Crescent”), we write to update the Court on recent developments in a related
proceeding before the Court of Appeal of England and Wales.

        On May 16, 2022, Crescent commenced this proceeding seeking confirmation of a foreign
arbitration award (the “Award”) rendered against respondent National Iranian Oil Company
(“NIOC”). Dkt. 1. NIOC did not appear to defend itself after service was completed. See Dkt.
15 (Return of Service). The Clerk entered default on October 21, 2022. Dkt. 17. Crescent’s
unopposed motion for a default judgment against NIOC is currently pending before this Court .
Dkt. 18.

        As detailed in Crescent’s motion for default judgment, NIOC had appealed from a
summary judgment issued by the High Court of England and Wales rejecting NIOC’s challenge
of a portion of the Award under s. 67 of the English Arbitration Act. Dkt. 18-1, 7-8, 20. On July
13, 2023, the English Court of Appeal issued its judgment dismissing NIOC’s appeal after a three-
day hearing.1 As of today, all of NIOC’s attempted challenges to the Award had been rejected by
English courts. Id.



1
   The English Court of Appeal’s judgment can be retrieved at the English National Archives at
https://caselaw.nationalarchives.gov.uk/ewca/civ/2023/826.

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      Case 1:22-cv-01361-JMC       Document 19-1       Filed 07/21/23    Page 2 of 2




      Should the Court require further information to consider Cresent’s motion for default
judgment, please let us know.

Respectfully submitted,

/s/ Debra O’Gorman
Debra O’Gorman




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